        Case 3:14-cr-01748-GPC                        Document 83                   Filed 01/27/15           PageID.334          Page 1 of 5
AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                                                   FILED
                                                                                                                                 JAN 212015
                                           UNITED STATES DISTRICT COUR
                                                 SOUTHERN DISTRICT OF CALIFORNIA                                            CLERK, U.S.
                                                                                                                        SOUTHERN D,~!iiil~:':;;:":
                                                                                                                       BY
                UNITED STATES OF AMERlCA                                             AMENDEDJUDGMENT~INNAA~C9RI~~~~~~~
                                      V.                                             (For Offenses Committed On or After November I, 1987)
                       PABLO ALVAREZ (1)
                                                                                        Case Number:         14CR1748-GPC

                                                                                     JODI THORP
                                                                                     Defendant's Attorney
REGISTRATION NO.                      47352298
I2SI   Modification of Restitution Order (18 U.S.C § 3664) Court Set Restitution.

THE DEFENDANT:
I2SI pleaded guilty to count(s)               1 of the Information.

       was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
Title & Section                            Nature of Offense                                                                              Number(s)
8: 1324(a)( I )(A)(ii),(v)(II)             Transportation of illegal aliens.                                                                 I




     The defendant is sentenced as provided in pages 2 through                                 5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(s)

       Count(s)                                                              is            dismissed on the motion of the United States.

       Assessment: $100.00.
I2SI


       Fine waived
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                                     Januarv 27. 2015




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      Case 3:14-cr-01748-GPC             Document 83       Filed 01/27/15      PageID.335        Page 2 of 5
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:               PABLO ALVAREZ (1)                                                       Judgment - Page 2 of 5
CASE NUMBER:             14CR 1748-GPC

                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
13 months.




      Sentence imposed pursuant to Title 8 USC Section 1326(b).
~     The court makes the following recommendations to the Bureau of Prisons:
      Designation to the Western Region of the United States (California).




D     The defendant is remanded to the custody of the United States MarshaL

D     The defendant shall surrender to the United States Marshal for this district:
      D    at                         A.M.                   on
           -----------------
      o as notified by the United States MarshaL
                                                                  -------------------------------------

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
D
      Prisons:
       D   on or before
           as notified by the United States Marshal.
      o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on
                               -------------------------- to -------------------------------
at                                       , with a certified copy of this judgment.
     ------------------------


                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       14CR1748-GPC
             Case 3:14-cr-01748-GPC                  Document 83             Filed 01/27/15            PageID.336            Page 3 of 5
    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                  PABLO ALVAREZ (l)                                                                            Judgment - Page 3 of 5
    CASE NUMBER:                14CR1748-GPC

                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o        substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U .S.C. § 1690 I, et
o        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                       STANDARD CONDITIONS OF SUPERVISION
    1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
    3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:
    4)  the defendant shall support his or her dependents and meet other family responsibilities;
    5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training. or other acceptable
        reasons;
    6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment
    7) the dcfendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
        any paraphemalia related to any controlled substances, except as prescribed by a physician;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony.
        unless granted permission to do so by the probation officer;
    10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contrahand
        observed in plain view ofthe probation officer;
    11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
        the court; and
    13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
        personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
        with such notification requirement.



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       Case 3:14-cr-01748-GPC          Document 83       Filed 01/27/15     PageID.337       Page 4 of 5
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:             PABLO ALVAREZ (1)                                                    Judgment - Page 4 of 5
CASE NUMBER:           14CR1748-GPC

                                SPECIAL CONDITIONS OF SUPERVISION

     1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information
        between the probation officer and the treatment provider. May be required to contribute to the costs of
        services rendered in an amount to be determined by the probation officer, based on ability to pay.

     2. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

     3. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     4. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

II




                                                                                                  14CR1748-GPC
       Case 3:14-cr-01748-GPC           Document 83             Filed 01/27/15     PageID.338         Page 5 of 5
 AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

 DEFENDANT:             PABLO ALVAREZ (1)                                                            Judgment - Page 5 of5
 CASE NUMBER:           14CR1748-GPC

                                            RESTITUTION

The defendant shall pay restitution in the amount of       $2,900.00               unto the United States of America.



This sum shall be paid forthwith:
   Pay restitution through Clerk, U.S. District Court, in the amount of $2,900.00. Payment of restitution
shall be forthwith. During any period of incarceration the defendant shall pay restitution through the
Inmate Financial Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per
quarter, whichever is greater. The defendant shall pay the restitution during his supervised release at the
rate of $1 00 per month. These payment schedules do not foreclose the United States from exercising all
legal actions, remedies, and process available to it to collect the restitution judgment.

   Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
Attorney's Office of any change in the defendants mailing or residence address, no later than thirty (30)
days after the change occurs.

Restitution is to be paid to the following victim:

 Victim                                  Amount                                Address
 San Diego                               $2,900.00                             3346 Kettner Blvd
 Rent A Car                                                                    San Diego, CA 92101



The Court has determined that the defendant          does not     have the ability to pay interest. It is ordered that:
     The interest requirement is waived


II
II




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